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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                                Chapter 11
    ESSAR STEEL MINNESOTA LLC and ESML                                   Case No. 16-11626 (CTG)
    HOLDINGS INC., 1                                                     Jointly Administered
                              Debtors.


    MESABI METALLICS COMPANY LLC (F/K/A
    ESSAR STEEL MINNESOTA LLC),
                              Plaintiff
             v.                                                          Adv. Proc. No. 17-51210 (CTG)
    CLEVELAND-CLIFFS INC. (F/K/A CLIFFS
    NATURAL RESOURCES INC.); CLEVELAND-
                                                                         Ref. D.I. 840
    CLIFFS MINNESOTA LAND DEVELOPMENT LLC;
    GLACIER PARK IRON ORE PROPERTIES LLC; and
    DOES 1-10
                              Defendants.

    CLEVELAND-CLIFFS INC. (F/K/A CLIFFS
    NATURAL RESOURCES INC.); CLEVELAND-
    CLIFFS MINNESOTA LAND DEVELOPMENT LLC,
                              Counterclaim-Plaintiffs
             v.
    MESABI METALLICS COMPANY LLC (F/K/A
    ESSAR STEEL MINNESOTA LLC)
                              Counterclaim-Defendant.




1
            Essar Steel Minnesota LLC has changed its name to Mesabi Metallics Company LLC. The last four digits
            of its federal taxpayer identification number are 8770.
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     CLEVELAND-CLIFFS INC. (F/K/A CLIFFS
     NATURAL RESOURCES INC.); CLEVELAND-
     CLIFFS MINNESOTA LAND DEVELOPMENT LLC,
                              Third-Party Plaintiffs
              v.
     CHIPPEWA CAPITAL PARTNERS, LLC; and
     THOMAS M. CLARKE,
                              Third-Party Defendants.


     ORDER GRANTING LEAVE TO EXCEED PAGE LIMIT WITH RESPECT TO THE
     JOINT MOTION FOR SUMMARY JUDGMENT FILED BY CLEVELAND-CLIFFS
       INC. AND CLEVELAND-CLIFFS MINNESOTA LAND DEVELOPMENT LLC

           Upon consideration of Cleveland-Cliffs Inc.'s and Cleveland-Cliffs Minnesota Land

    Development LLC's Motion for Entry of an Order Granting Leave to Exceed the Page Limit With

    Respect to the Opening Brief in Support of Joint Motion For Summary Judgment [D.I. 840] (the

    "Motion"),2 pursuant to which Cliffs requests leave to file an opening brief in support of the SJ

    Motion that exceeds the 30-page limit imposed by Local Rule 7007-2(a)(iv); and Mesabi's

    response thereto [D.I. 868] and due and proper notice of the Motion having been given; and it

    appearing that sufficient cause exists for granting the requested relief,

             IT IS HEREBY ORDERED:

             1.     The Motion is GRANTED as set forth herein.

             2.     Cliffs is authorized to exceed the 30-page limit set forth in Local Rule 7007-2(a)

    (iv) with respect to its opening brief in support of the SJ Motion such that Cliffs' Opening Brief

    is permitted to be up to seventy (70) pages long.




2
          Capitalized terms used but not otherwise defined in this Order shall have the meanings ascribed to them in
          the Motion.
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             3.    Mesabi may file an opposition brief of up to seventy-five (75) pages.

             4.    Cliffs may file a reply of up to thirty-seven (37) pages.

             5.    This Court shall retain jurisdiction with respect to any and all matters arising from

 or related to the interpretation or implementation of this Order.




 Dated: November 27th, 2023                          CRAIG T. GOLDBLATT
 Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE




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